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KENJI M. PRICE #10523                     COREY R. AMUNDSON
United States Attorney                    Chief, Public Integrity Section
District of Hawaii                        United States Department of Justice

KENNETH M. SORENSON                       JOHN D. KELLER                     FILED IN THE
                                                                    UNITED STATES DISTRICT COURT

Assistant U.S. Attorney                   Principal Deputy Chief
                                                                         DISTRICT OF HAWAII
                                                                           Aug 31, 2020
Room 6-100, PJKK Federal Bldg.                                       Michelle Rynne, Clerk of Court


300 Ala Moana Boulevard                   SEAN F. MULRYNE
Honolulu, Hawaii 96850                    Deputy Director, Election Crimes
Telephone: (808) 541-2850                 NICOLE R. LOCKHART
Facsimile: (808) 541-2958                 JAMES C. MANN
Email:ken.sorenson@usdoj.gov              Trial Attorneys
                                          Public Integrity Section


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                )   CR. NO. 20-00068 LEK
                                         )
                  Plaintiff,             )   MEMORANDUM OF PLEA
                                         )   AGREEMENT
      vs.                                )
                                         )   DATE: August 31, 2020
NICKIE MALI LUM DAVIS,                   )   TIME: 11:00 a.m.
                                         )   JUDGE: Leslie E. Kobayashi
                  Defendant.             )
                                         )
                                         )


               MEMORANDUM OF PLEA AGREEMENT

     Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the UNITED

STATES OF AMERICA, by its undersigned attorneys, and the defendant, NICKIE
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MALI LUM DAVIS, and her attorneys, William C. McCorriston, Esq. and Abbe

David Lowell, Esq., have agreed upon the following:

                                 THE CHARGES

      1.     The defendant acknowledges that she has been charged in an

Information with violating Title 18 United States Code Section 2 (aiding and

abetting) violations of Title 22, United States Code, Sections 612 and 618(a)

(Foreign Agents Registration Act or FARA).

      2.     The defendant has read the charge against her contained in the

Information, and the charge has been fully explained to her by her attorneys.

      3.     The defendant fully understands the nature and elements of the crime

with which she has been charged.

                               THE AGREEMENT

      4.     The defendant agrees to waive indictment and enter a voluntary plea of

guilty to an Information, which charges her with aiding and abetting violations of

the Foreign Agents Registration Act, Title 22, United States Code, Sections 612 and

618(a), for her work on behalf of a foreign national and a foreign minister for the

purpose of lobbying the Administration of the President of the United States and the

United States Department of Justice to drop an investigation into the foreign national

and arrange for the removal and return of a separate foreign national to a foreign

nation. The defendant is aware that she has the right to have this felony charge
                                      2
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asserted against her by way of grand jury indictment. The defendant hereby waives

this right and consents that this offense may be charged against her by way of the

Information.      Additionally, the defendant understands that Count 1 of the

Information may arguably charge more than one FARA offense. The defendant has

consulted with her counsel and knowingly waives any objection to the inclusion of

more than one FARA offense in Count 1.               The defendant elects to have the

Information include all of her FARA-related conduct in one count, as opposed to the

inclusion of additional counts in the Information. In return, the government hereby

agrees to not prosecute the defendant for additional violations of federal law based

on conduct now known to the government that is directly related to the offense

conduct set forth in Paragraph 8 of this agreement.

      5.       The defendant agrees that this Memorandum of Plea Agreement shall

be filed and become part of the record in this case.

      6.       The defendant enters this plea because she is in fact guilty of willfully

aiding and abetting a lobbying campaign by unregistered agents of a foreign national

and foreign minister, as charged in the Information, and she agrees that this plea is

voluntary and not the result of force or threats.

                                     PENALTIES

      7.       The defendant understands that the maximum penalties for the offense

to which she is pleading guilty include:
                                            3
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              a.    A term of imprisonment of up to 5 years and a fine of up to

$10,000, plus a term of supervised release of not more than 3 years.

              b.    In addition, the Court must impose a $100 special assessment as

to each count to which the defendant is pleading guilty. The defendant agrees to

pay $100 for each count to which she is pleading guilty to the District Court’s Clerk’s

Office, to be credited to said special assessments, before the commencement of any

portion of sentencing. The defendant acknowledges that failure to make such full

advance payment in a form and manner acceptable to the prosecution will allow,

though not require, the prosecution to withdraw from this Agreement at its option.

              c.    Forfeiture of the proceeds realized by the defendant as a result of

the offense conduct set forth in full detail in Paragraph 8 of this Agreement.

                           FACTUAL STIPULATIONS

      8.      The defendant admits the following facts and agrees that they are not a

complete recitation, but merely an outline of what happened in relation to the charge

to which the defendant is pleading guilty:

           a. In the District of Hawaii and elsewhere:

              1.    From no later than March 2017 to at least January 2018, the

defendant agreed with Persons A and B to act as agents of Foreign National A in

exchange for millions of dollars. The defendant, Person A, Person B, and Foreign

National A agreed that Person B would use his political connections to lobby the
                                      4
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Administration of the President of the United States (“the Administration”) and the

United States Department of Justice (“DOJ”) to drop the investigation of Foreign

National A for his role in the embezzlement of billions of dollars from 1Malaysia

Development Berhad (“1MDB”), a strategic investment and development company

wholly owned by the Government of Malaysia.           As part of their efforts, the

defendant and Person B willfully failed to disclose to the Administration and DOJ

officials that Person B was acting on behalf of Foreign National A. Ultimately, the

defendant and Persons A and B were unsuccessful in their efforts to have the 1MDB

investigation dropped.

            2.     During the same approximate period, the defendant also agreed

with Persons A and B to aid their efforts to lobby the Administration and the DOJ to

arrange for the removal and return of People’s Republic of China (“PRC”) National

A—a dissident of the PRC living in the United States—all at the request of Foreign

National A and PRC Minister A. Here too, the defendant and Persons A and B were

ultimately unsuccessful.

            3.     To further the interests of Foreign National A, the defendant

aided Person B in facilitating a meeting between Malaysian Prime Minister A and

the President of the United States in September 2017, in part to allow Malaysian

Prime Minister A to raise the resolution of the 1MDB matter with the President.

            4.     The defendant, Person A, and Person B also met with Foreign
                                       5
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National A and PRC Minister A in the PRC and Person B agreed that he would use

his political connections to lobby the Administration to return PRC National A to

the PRC. The defendant, Person A, and Person B, for the express purpose of

providing PRC Minister A an opportunity to discuss the removal of PRC National

A with high-level United States officials, also attempted to facilitate meetings

between PRC Minister A and top officials at DOJ and the United States Department

of Homeland Security (“DHS”), during PRC Minister A’s visit to the United States

in May 2017.

             5.    As part of their efforts, Person B initially falsely assured the

defendant that their work could consist of formal legal representation and should not

require them to register under FARA or to otherwise disclose that they were working

on behalf of Foreign National A. No later than in or about May 2017, after it became

clear that their lobbying efforts did not constitute legal representation and required

registration and disclosure, the defendant deliberately and consciously avoided

revisiting FARA, and the defendant, Person A, and Person B willfully failed to

register under FARA while continuing to work on behalf of Foreign National A and

PRC Minister A.

             6.    The    defendant    was     and   is   a    United   States   citizen,

businesswoman, and consultant with personal and business relationships with

Persons A and B.
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             7.     Person A was a United States citizen, businessperson, and

entertainer with international ties, including ties to Foreign National A.

             8.     Person B served as Deputy Finance Chair of a national political

committee from approximately April 2016 to April 2018. In that capacity, Person

B raised large political contributions from donors, organized political fundraising

events, and coordinated fundraising strategies with the campaign of a candidate for

the Office of the President of the United States during the 2016 election cycle. After

the election, Person B continued in his role as Deputy Finance Chair and maintained

access to, and contact with, high-ranking officials in the Administration, including

the President.     Over the same period, Person B owned and operated several

domestic and international businesses and worked as a political consultant.

             9.     Foreign National A was a wealthy businessperson living in East

Asia who has been charged separately for his role in orchestrating and executing a

multi-billion-dollar embezzlement scheme from 1MDB.

             10.    Company A was a limited liability company formed by Person A

to receive wire transfers from Foreign National A to pay Person B for his lobbying

efforts. The defendant was not involved in the formation of Company A and was

unaware that it was created for this specific purpose.

             11.    George Higginbotham was an associate of Person A and was a

licensed attorney employed by DOJ.        On November 20, 2019, Higginbotham
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pleaded guilty in the United States District Court for the District of Columbia to a

one-count Information charging conspiracy to make false statements to a financial

institution based on Higginbotham’s agreement with Person A to misrepresent the

purpose and source of international wire transfers sent at the direction of, and from

accounts associated with, Foreign National A to pay Person B to lobby the

Administration and DOJ to drop the 1MDB investigation and to remove PRC

National A to the PRC as alleged above and below.

             12.   Law Firm A was a law firm operated by Person B’s spouse,

Person C.

             13.   PRC National A was a dissident of the PRC, living in the United

States on a temporary visa. The government of the PRC, including PRC Minister

A and the President of the PRC, were seeking the removal of PRC National A from

the United States back to the PRC.

             14.   In late 2016 through 2019, DOJ was actively investigating

transactions of Foreign National A allegedly associated with laundered proceeds of

the 1MDB embezzlement scheme. In July 2016, DOJ filed multiple civil forfeiture

complaints seeking the forfeiture of millions of dollars in assets allegedly purchased

with 1MDB laundered proceeds. On November 1, 2018, DOJ filed a criminal

indictment charging Foreign National A and others with conspiring to launder

billions of dollars embezzled from 1MDB and conspiring to violate the Foreign
                                     8
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Corrupt Practices Act by paying bribes to various foreign officials.

Campaign to Resolve 1MDB Civil Forfeiture Cases

             15.   After being approached by Person A to seek help on behalf of

Foreign National A, in or about March 2017, the defendant told Person B that she

had a possible client in Country A who could “use help with the forfeiture.”

             16.   At the request of Person B, on or about March 5, 2017, the

defendant emailed Person B a copy of a civil forfeiture complaint related to 1MDB.

That same day, the defendant emailed Person B a Bloomberg article titled “[Foreign

National A] Trusts Ask to File Late Claims in Forfeiture Lawsuits,” and texted

Person B, “Your email has the court filing[.]” Person B responded, “Thx. Will

review.” The defendant replied, “Call me when u can- thank you[.]” Person B

responded again, “Yes. 5 min[.]”

             17.   Person A requested that the defendant send him Person B’s

biography describing Person B’s relationship with high-level officials in the

Administration and photographs of Person B and the President. On or about March

7, 2017, Person B’s assistant, at the defendant’s request, emailed photographs to the

defendant featuring Person B and the President. Person A said that he wanted the

photographs so that Person A could highlight Person B’s close access to the

Administration.

             18.   On or about March 8, 2017, the defendant texted Person B, “Are
                                        9
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you in la to meet on the 16th w [Person A] prior to his travel that weekend to Asia?”

Person B responded, “I think so. Let’s speak later.” Later that same day, the

defendant sent Person B additional text messages to set up the meeting among

Person B, Person A, and the defendant.

             19.   At the direction of Person B, on or about March 13, 2017, the

defendant forwarded to Person A a “Retainer and Fee Agreement – Litigation

Services” between Law Firm A and Foreign National A. The “Retainer and Fee

Agreement” stipulated that Foreign National A would pay an $8 million retainer fee

upfront, and an additional $75 million success fee if the “matter” was resolved within

180 days, or $50 million if the “matter” was resolved within 365 days. The draft

agreement included an Exhibit A explaining that the “matter” referred to the 1MDB

forfeiture proceedings.    In actuality, Person A, Person B, Law Firm A, the

defendant, and Person C provided no litigation services or legal advice to Foreign

National A. The true purpose of the retention agreement was to secure Person B’s

services to lobby the Administration and DOJ on Foreign National A’s behalf based

on Person B’s political connections.

             20.   On or about March 13, 2017, Person B met with Person A and

the defendant to discuss Foreign National A and his legal issues. At the meeting,

Person A described his relationship with Foreign National A to Person B, and asked

if Person B could help with the civil forfeiture cases involving Foreign National A.
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Person A said he would speak with Foreign National A about the possibility of

Person B helping with the civil forfeiture cases. That same day, Person B texted

the defendant in part, “I’m excited about our business prospects.”

              21.   On or about March 15, 2017, in reference to Foreign National A,

Person B texted the defendant, “Anything new on . . . [Person A’s] Associate?”

That same day, the defendant responded, “[Person A] mtg in person tomorrow w the

‘promoter’ and they hope to travel within the next few week[.]”

              22.   On or about March 22, 2017, the defendant emailed Person B and

his assistant about setting up another meeting among Person B, Person A, and the

defendant.

              23.   At all relevant times, the defendant, Person A, and Person B were

aware of FARA and its prohibition on unregistered representation of foreign

principals.

              24.   Despite their knowledge of the requirement to register as agents

of a foreign principal, at no time did the defendant, Person A, or Person B register

with the FARA Unit in DOJ regarding their work as agents of Foreign National A.

Meeting with Foreign National A in Bangkok

              25.   In or about April 2017, Person A asked Person B to travel to

Bangkok, Thailand to meet with Foreign National A. Person B said he would go

only if he were paid $1 million, and that he wanted to be paid by Person A from
                                       11
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“untainted” funds.

              26.    On or about April 28, 2017, Person B texted the defendant

advising, “I would like the funds to go to [Law Firm A.]” The defendant responded,

“Ok[.]”

              27.    On or about April 29, 2017, Person B and the defendant

exchanged text messages regarding their upcoming meeting with Foreign National

A and Person A. Among those text messages, Person B asked in reference to

Foreign National A, “Does the principal want us in a particular hotel in either

location?” The defendant responded, “Call me when u can talk[.]”

              28.    On or about April 30, 2017, the defendant emailed Person B’s

assistant regarding a flight itinerary for travel to Bangkok.    In the email, the

defendant wrote in part: “Please call me if you have questions -- It’s 2 one way

tickets – since we need to leave from a different country[.] We don’t need to worry

about hotels yet . . . ”

              29.    On or about May 1, 2017, the defendant emailed Person B and

his assistant a link to the Shangri-La Hotel in Bangkok. That same day, the

defendant emailed Person A telling him to book a room at the Shangri-La Hotel and

to send her the confirmation.     Person A responded, “[Foreign National A] is

booking our hotel,” and later followed up with, “Also send me [Person B’s] wire

info.” The defendant replied by providing the wire information for an account in
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the name of Law Firm A. The same day, in response to a question from Person B’s

assistant about whether she should cancel Person B’s hotel room reservation, the

defendant emailed Person B’s assistant, “Yes all rooms are booked by [Person A]

already.”

             30.    On or about May 2, 2017, the defendant emailed Person B stating

in part, “Since u land earlier – [Person A] and I will see you at arrivals. . . . Thanks

and bon voyage – here’s to the start of an exciting and prosperous adventure!”

             31.    On or about May 2, 2017, the defendant, Person A, and Person

B arrived in Bangkok. During the trip, the defendant, Person A, and Person B met

with Foreign National A in a hotel suite. Person B and Foreign National A spoke

about the 1MDB investigation and civil forfeiture actions. Foreign National A

agreed to pay Person B an $8 million retainer and wanted Person B to contact the

Attorney General to get DOJ to drop the 1MDB matter. Person B agreed to lobby

the Administration and DOJ for a favorable result for Foreign National A while

concealing the fact that he was working on Foreign National A’s behalf. With

respect to payment, Person B stated that the money should not come directly from

Foreign National A and should be “clean.” Foreign National A identified a friend

who could pay Person B and others. Person A, Person B, and the defendant agreed

that the money would first be routed through Person A and then be paid to Person B

through Law Firm A. Person B and the defendant agreed that Person B would pay
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the defendant a thirty percent commission on what Person B received. Person A,

who had other business agreements with the defendant for which funds were owed,

also agreed to pay the defendant a percentage of the funds that Person A received as

a commission for the defendant’s efforts on behalf of Foreign National A. Person

A told Person B and the defendant that Person A’s friend, Higginbotham, was

verifying the legitimacy of the funds. Higginbotham did not actually perform any

such review.

Payments from Foreign National A to Defendant and Others

               32.   Following the meeting with Foreign National A in Thailand, on

or about May 8, 2017, Company A received a wire transfer directed by Foreign

National A for approximately $2.8 million from an entity in Hong Kong. That same

day, Person A directed $1 million in deposits into Law Firm A’s account.

               33.   On or about May 8, 2017, the defendant texted Person B, “Both

wires in [Law Firm A] are from [Person A]. The remaining balance was dropped

to your office 20 minutes ago -.” The defendant added, “702 total cashier check[.]”

               34.   On or about May 9, 2017, Person A caused Company A to

transfer $250,000 to a company controlled by a family member of the defendant for

the defendant’s benefit.

               35.   On or about May 17, 2017, Foreign National A caused an


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international wire to be sent to Company A from a Hong Kong company. That same

day, Person A transferred $3 million from Company A to Law Firm A.

              36.   On or about May 17, 2017, Person B and the defendant

exchanged text messages regarding the payments from Foreign National A to Person

B through Person A and Person B’s payment of a percentage to the defendant.

Among the text messages, the defendant asked, “Did you get it?”          Person B

responded, “Yes. Sent you Wickr[.] Sending wire to you in morning.” Wickr is

a messaging application that allows for end-to-end encryption and content

expiration. Person B later added, “Did you get 2nd confirm?” The defendant

responded, “When Asia opens. . . . Baby steps at least moving forward now.”

Person B responded, “Yes. Hammer them for the next 2 wires.” Person B later

added in part, “Assuming second 3 is in and confirmation that last 2 is being sent.

Please ask [Person B’s assistant].”

              37.   On or about May 18, 2017, Law Firm A transferred $900,000 to

a business account controlled by the defendant representing her thirty percent

commission.

              38.   On or about May 25, 2017, Foreign National A caused a third

transfer to be made to Company A, this time in the amount of approximately $2.7

million. On or about May 26, 2017, Person A transferred $2 million from Company

A to Law Firm A. That same day, $600,000 was transferred from Law Firm A’s
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account to a business account associated with the defendant representing the

defendant’s commission.

Person B Facilitates Meetings for Malaysian Prime Minister A and Works to
Resolve the 1MDB Case

             39.   The defendant understood that throughout May, June, July, and

August 2017, Person B was attempting to use his access and perceived influence

with the Administration to set up a visit between Malaysian Prime Minister A and

the President.

             40.   On or about June 5, 2017, at the request of Person A, the

defendant sent Person B text messages regarding Foreign National A. Among those

messages, the defendant wrote, based upon information conveyed to her by Person

A, “Please call before u go to bed in ISRAEL if possible… [Foreign National A]

keeps calling for news[.]”   Person B responded, “Yes. Will call you. I am

heading to D.C. Tonight to work on [Foreign National A] and Asian country[.]”

             41.   On or about June 15, 2017, at the request of Person A, the

defendant texted Person B, “Hey he’d like to speak w you this evening. Are u

able?”   The defendant added, “Principal”, which was a reference to Foreign

National A. That same day, Person B responded, “Yes[.]”

             42.   On or about June 16, 2017, Person B and the defendant

exchanged text messages regarding 1MDB and the seizure of jewelry from a person

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associated with Foreign National A.

             43.    On or about June 17, 2017, Person B and the defendant discussed

Malaysian Prime Minister A and Person B’s efforts to arrange a golf game between

Malaysian Prime Minister A and the President. Person B said, and the defendant

believed, that this would please Foreign National A and would allow Malaysian

Prime Minister A to attempt to resolve the 1MDB matter. Person B also hoped to

secure additional business with the government of Malaysian Prime Minister A and

hoped that arranging the golf outing would further his business interests.

             44.    On or about June 19, 2017, the defendant texted Person B a link

to an article about the Malaysian Prime Minister A’s office criticizing the 1MDB

forfeiture action in the United States.

             45.    On or about June 25, 2017, the defendant texted Person B a link

to an article about Malaysian Prime Minister A and the 1MDB forfeiture action

involving Foreign National A. That same day, Person B responded, “Weird article.

What can we do?” The defendant replied, “Call pls. Got news[.]” The defendant

followed up stating that she had sent Person B a “What’s app request.”

             46.     In late June and early July 2017, Person B contacted high-

ranking officials in the Administration in an effort to arrange the golf outing between

Malaysian Prime Minister A and the President.

             47.      On or about July 4, 2017, the defendant texted Person B, “Call
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me asap” and then “Clear your phone – erase messages[.]”

            48.    On or about July 11, 2017, relaying a message from Person A,

the defendant texted Person B, “Wickr[.] It’s 5pm … I think we need to make a

move. Date and otherwise. We’re getting killed.” These messages referred to

confirming a date for Malaysian Prime Minister A’s golf outing and Foreign

National A’s displeasure because no date had been confirmed. Relaying urgency

from Person A, the defendant continued, “Please call because we need to strategize

– I’m getting inundated[.]” Person B responded, “See wikr[.]” The following day,

Person B texted the defendant, “Send me text on wikr. I’m taking off and need to

get to WH[.] Taking off. Need now[.]” The defendant responded, “Done[.]”

Person B responded, “Got it. Thx[.] Trying to get [Person F] to do call asap[.]”

Person F was then a high-ranking official on the National Security Council.

            49.    On or about July 13, 2017, the defendant texted Person B,

“Please call when u can so we can talk- we gotta handle this so pls pls go to D.C.

And sit at WH until u get it. I will keep u company if u worry about being lonely!”

            50.    On or about July 15, 2017, Person B texted the defendant,

“Working on getting meetings for tomorrow.”

            51.    On or about July 17, 2017, conveying urgency expressed by

Person A on behalf of Foreign National A, the defendant texted Person B, “[Person

E, a high-ranking official in the White House] needs to give u this date now and ask
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him for update on other thing. We look impotent[.]” This text referred both to

setting up a meeting for Malaysian Prime Minister A with the Administration and to

the matter involving PRC National A. Person B responded, “Agree. Hammering

away[.]”

            52.    On or about July 18, 2017, Person B and the defendant

exchanged several text messages about setting up a meeting between the

Administration and Malaysian Prime Minister A. Among the messages, relaying

information from Person A, the defendant wrote, “Can u check Wikr[.] Really

really need that date. It’s been crazy for me all day w this. He’s panicking[.]”

The defendant followed up with, “This date is mandatory today- we’re getting

creamed.” According to Person A, Foreign National A was panicking because no

meeting had yet been scheduled. Person B responded, “Calling [Person E] now[.]”

The defendant replied in part, “Call everyone so they know u are raging mad[.] Call

[Person G] too. We need this today[.]” Person G was an administrative assistant

to the President. Person B replied, “Doing it now.”

            53.    On or about July 19, 2017, the defendant texted Person B in

reference to scheduling a date for a meeting between Malaysian Prime Minister A

and the President, “Secondly we need this date bad[.]” Person B responded the

following day, “Please bear with me. Getting some info on mtg[.]” In the ensuing

days, Person B confirmed that he had spoken to officials in the Administration and
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a golf game between Malaysian Prime Minister A and the President had been

scheduled.

             54.   On or about July 29, 2017, relaying information she received

from Person A on behalf of Foreign National A, the defendant texted Person B in

reference to the meeting between Malaysian Prime Minister A and the President,

“They were told 12 sept is mtg. That’s day that un general assembly stars- it’s a

Tuesday???? No golf??”        The defendant immediately followed by texting

“Wickr[.]” Person B responded, “May be two mtgs. Amb should ask. Golf at

Bedminster on Sat and tues at WH?”

             55.   On or about August 7, 2017, Person B sent his assistant an email

with the subject, “Malaysia Talking Points *Final*”, with talking points intended for

an upcoming meeting between the Secretary of State of the United States and

Malaysian Prime Minister A. The defendant received the talking points from

Person A—who provided them on behalf of Foreign National A—and relayed them

to Person B, knowing that Person B would then provide them to the Secretary of

State as background for the meeting. The talking points mentioned, among other

things, Person B’s ongoing relationship and work with [Country A], and identified

1MDB as a “[p]riority[.]” The talking points noted the lack of harm caused by

1MDB, and specified that “[t]he involvement of US prosecutors has caused

unnecessary tension American [sic], and could cause a negative reaction among
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Malaysians[.]”

             56.   On or about August 9, 2017, Foreign National A caused a Hong

Kong company to transfer approximately $12.8 million to Company A. Person A

then transferred $3 million to Law Firm A. Person A also transferred $833,333 to

a business account controlled by the defendant, representing a commission payment

from Person A. On or about August 10, 2017, Law Firm A transferred $900,000 to

a business account associated with the defendant, representing a commission

payment from Person B.

             57.   On or about August 16, 2017, Person B and the defendant

exchanged text messages to set up a meeting and a phone call.           Among the

messages, the defendant wrote, “[Person A] really wants to see u today if possible

since u leave Friday[.]”

             58.   On or about August 18, 2017, Person B and the defendant

exchanged text messages setting up a phone call.           Among the messages, the

defendant wrote, “Call me pls. [Person A] wants to conference in[.]” At that time,

as the defendant understood, Person B was still attempting to arrange a golf game

between Malaysian Prime Minister A and the President.

             59.   On or about August 21, 2017, the defendant wired $375,000 in

funds she received as a commission from Person A, to Person C, the spouse of Person

B. The defendant’s payment to Person B’s spouse was in satisfaction of a prior,
                                    21
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unrelated debt.

            60.     On or about September 11, 2017, the defendant typed a letter at

Person B’s instruction to be sent from Person B to the President in anticipation of

Malaysian Prime Minister A’s meeting with the President. The letter included

several positive developments in the relationship between Country A and the United

States. The letter was never provided to the President.

            61.    On or about September 12, 2017, Malaysian Prime Minister A

met with the President at the White House, due in part to the assistance provided by

the defendant and Person B’s efforts to facilitate the meeting. Although Person B

contacted high-ranking officials in the Administration to arrange a golf meeting

between the President of the United States and Malaysian Prime Minister A in

addition to the official meeting, no golf game between Malaysian Prime Minister A

and the President took place.

            62.    On or about October 6, 2017, Person B met with the President at

the White House. Person B represented to Person A, the defendant, and Foreign

National A that he had raised the 1MDB investigation at the meeting.

            63.    On or about January 5, 2018, Person B drafted talking points

related to 1MDB to demonstrate to Foreign National A the efforts that Person B had

undertaken on his behalf. Among other things, the talking points provided: “1.

We are working with the DoJ to counter the previous Administration’s case against
                                      22
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1MDB in [Country A]. I have put a strategy in place to contact parties both at DoJ

and the NSC to find a resolution to this issue. 2. I am in the process of scheduling

a meeting with the assistant attorney general [] who has the oversight for the [] case.

She is a [presidential] appointee and can be helpful. . . . 3. As I informed you earlier,

in my discussion with the President, he committed to getting this issue resolved. It

is important that I take his lead but will continue to communicate the importance of

this issue.”     Person B greatly exaggerated his efforts regarding the 1MDB

investigation.

Campaign to Remove PRC National A from the United States

               64.   In or about May 2017, following the trip to Bangkok, Person B

agreed to travel to Hong Kong to meet again with Foreign National A. Prior to the

trip, the defendant and Person B discussed that it was important to Foreign National

A that PRC National A be deported from the United States. The purpose of the trip

to Hong Kong was to meet with Foreign National A and a foreign government

official of the PRC to discuss PRC National A.

               65.   On or about May 15, 2017, the defendant emailed Person B’s

assistant regarding travel arrangements and the itinerary for the trip to Hong Kong.

The same day, the defendant also emailed Person B and Person C banking

information for the defendant’s company.

               66.   On or about May 18, 2017, Person A, Person B, and the
                                     23
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defendant traveled to Hong Kong and were transported to Shenzhen, China, where

they met with Foreign National A and PRC Minister A in a hotel suite. PRC

Minister A spoke to Person B about PRC National A and his alleged crimes and

stated that the PRC wanted PRC National A to be returned to the PRC. PRC

Minister A asked Person B to use his influence with high-ranking United States

government officials to advocate for PRC National A’s removal and return to the

PRC. PRC Minister A also stated that he would be visiting Washington, D.C. soon

and was having trouble scheduling meetings with certain high-ranking United States

officials.

Person B Lobbies Top U.S. Officials for the Removal of PRC National A

             67.   On or about May 20, 2017, during the return trip from China,

Person B texted the defendant, “I’ll try to make this a big week for us with [the

Attorney General.]” The defendant understood that Person B was then attempting

to use his access and perceived influence to arrange a meeting with the Attorney

General to discuss the removal of PRC National A.

             68.   Following the trip, Person B finalized a memorandum addressed

to the Attorney General regarding law enforcement cooperation between the United

States and the PRC, which included a request for the removal of Person B from the

United States and his return to the PRC. The content of the memorandum had been

provided to Person B by the defendant, who had received the information on a thumb
                                        24
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drive from Person A during the May 2017 trip to China. The content of the

memorandum originated from PRC Minister A and Foreign National A.

             69.    In the memorandum, Person B misrepresented the reason for the

trip to China and the circumstances leading to the meeting with PRC Minister A.

The memorandum did not mention Person B’s contact with Foreign National A or

his role in setting up the meeting between Person A, Person B, the defendant, and

PRC Minister A. Nor did it mention the $4 million that Person B had been paid by

Foreign National A over the two weeks preceding the meeting in Shenzhen with

PRC Minister A. Person B also did not disclose that his lobbying efforts with

respect to PRC National A were, at least in part, pursuant to his financial

arrangement with Foreign National A and could potentially result in additional

payment.

             70.    In the memorandum, Person B stated, “I was told by [PRC

Minister A] that [the PRC ] would like to significantly increase bi-lateral cooperation

with the US with respect to law enforcement including cyber security.” Person B

wrote about PRC Minister A’s upcoming trip to Washington, D.C., in which PRC

Minister A and his delegation planned to meet with several high-ranking United

States government officials. Person B advocated for the Attorney General to meet

with PRC Minister A. Person B also noted several items that the PRC, according

to PRC Minister A, would be willing to do to improve law enforcement relations
                                      25
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between the United States and the PRC. Person B then added:

         According to my conversation with [PRC Minister A], the one
         request [the PRC ] will make is that [PRC National A], who [the
         PRC] alleges has conspired with others who have been arrested and
         charged with violations of numerous criminal laws of [the PRC]
         (including kidnapping and significant financial crimes be deported
         (his Visa ends within the next month or so) or extradited (Interpol
         has issued a Red Notice with respect to him which is attached for
         your reference) as soon as possible from the US to [the PRC] so he
         can be charged with these violations and go through regular criminal
         proceedings in [the PRC] with regard to these allegations.

Person B appended an Interpol Red Notice for PRC National A to the memorandum.

            71.    In May 2017, the defendant understood that Person B was using

his access and perceived influence with the Administration to set up meetings

between PRC Minister A and high-level officials at DOJ and DHS.

            72.    As part of his efforts to obtain information to pass on to Foreign

National A, PRC Minister A, and representatives of the PRC regarding PRC

National A, Person A indicated to the defendant that he would meet with special

agents of the FBI and disclose his access to representatives of the PRC and some of

the efforts to coordinate meetings for PRC Minister A while attempting to confirm

PRC National A’s precise location. Subsequently, Person A did in fact meet with

special agents of the FBI and lobbied for the return of PRC National A to the PRC

and sought to confirm PRC National A’s precise location.

            73.    In May 2017, without solicitation, PRC Minister A contacted the

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defendant. On or about May 30, 2017, relaying information from PRC Minister A

and Person A regarding PRC Minister A’s meeting with United States government

officials, the defendant texted Person B, “Check Wickr- all clear now for

meetings[.]” Person B responded, “Yes. All set[.]” The defendant replied, “He

got his Mtgs reinstated[.]”

             74.   In May 2017, the defendant, at Person A’s request, asked Person

B to meet with PRC Minister A in Washington, D.C.

             75.   On or about May 30, 2017, Person B met with PRC Minister A

at a hotel in Washington, D.C.

             76.   On or about May 31, 2017, the defendant texted Person B with

respect to PRC Minister A’s purported meeting: “In principal [Secretary of DHS]

us ok- just a schedule issue?” Person B responded, “Just a short notice scheduling

issue. Still might hear in next hour or so. There is no issue with [PRC Minister

A].” Person B later continued, “Please pass along my good wishes to the VM.

Wait a little while longer.” The defendant responded, “Yes, I’m telling him that.”

Person B replied, “Tell him I’m telling WH and [Attorney General] what happened.”

The defendant then texted, “Isn’t [Secretary of DHS] scheduled to be in Haiti this

afternoon?” Person B responded, “Scheduler did not mention this?? Are you

sure? Neither did [Attorney General’]s people[.]” The defendant responded, “It’s

on the DHS website[.] He’s there for the afternoon[.] Just spoke to VM and he
                                      27
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sounded like he was crying[.]” Person B responded, “Terrible. What a mess.

Bottom line not our fault. Normally their Amb would handle. This is a cluster

f[*]ck.” The defendant replied, “Wickr.”

            77.    On or about June 9, 2017, the defendant texted Person B a news

article titled “[the PRC ]-cranks-up-heat-on-exiled tycoon-[PRC National A.]”

            78.    On or about June 27, 2017, Person B and the defendant

exchanged several text messages regarding PRC National A.

            79.    In June 2017, the defendant understood that Person B asked

Person H, an internationally successful businessman and frequent contributor to

political campaigns with close access to the President, to lobby the Administration

for the removal of PRC National A.

            80.    On or about June 29, 2017, Person B and the defendant

exchanged text messages regarding PRC National A’s visa application. Person B

asked, “Is rejection or acceptance letter already generated?”       The defendant

responded, “I have no idea.” Person B replied, “Sorry always generated. In others

words each applicant eventually re wives a yes or no in writing[?] Sorry receive a

yes or no in writing[?]” The defendant responded, “Yes[.] Check Wickr[.]”

            81.    On or about June 30, 2017, in reference to their efforts to

facilitate the removal of PRC National A and the potential return of United States

citizens held in the PRC , the defendant texted Person B, “Wickr. You are the man
                                          28
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right now. They are going to give you the President’s medal of freedom award after

what you will accomplish for this the country this July 4th[.]” Person B responded,

“I am going to slam until it’s done[.]” The defendant replied, “Let’s make sure part

1 happens today. And date for m[.] Don’t leave that dude until we do it.” Person

B responded, “Agree.” The defendant continued, “Let him know – if we get the

letter confirming the denial today by close of business (as u need workers to generate

that letter) then we will get the 2 Americans home by July 4[.] After other phase 2-

we can do the 60 take back[.]” Person B responded, “Sounds good. [Person H]

calling me back shortly. On a call.”

             82.   On or about June 30, 2017, Person B and the defendant

exchanged several text messages about PRC National A. Person B texted, “Heard

from [Person H].      He reiterated to POTUS.”        Person B followed up with,

“Separately, [Person E] texted me that he got tied up but is on top of it.” That same

date, the defendant replied, “Can we get proof today about revoke?” The defendant

later specified, “From [Person E]?”

             83.   On or about July 1, 2017, Person B texted the defendant, “Spoke

to [Person E] at length. Call me when you can[.]” Person B did not speak with

Person E but had exchanged text messages with him about PRC National A’s visa

application. Similar to the representations Person B made in the memorandum that

he prepared for the Attorney General and his communications with Person H, Person
                                        29
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B did not disclose the true nature of his relationship with PRC Minister A to Person

E.

               84.   On or about July 2, 2017, Person B and the defendant exchanged

text messages regarding PRC National A and his visa application. Based on public

reporting, the defendant texted, “There is a call Scheduled for today Sunday with

[The President of the PRC] about n Korea. He can ask and confirm about package.

He can even say he heard from [Person H].”

               85.   On or about July 3, 2017, again based on public reporting, the

defendant texted Person B: “[President] leaves D.C. Wednesday for Europe[.]” The

defendant then followed up: “July 5. Scheduled to meet in person w [President of

the PRC][.]”

               86.   In or about July 2017, Person B asked the defendant to connect

PRC Minister A and Person H. On or about July 18, 2017, Person B emailed the

defendant the contact information for Person H. The defendant connected multiple

calls between PRC Minister A and Person H in furtherance of the lobbying campaign

to remove PRC National A.

               87.   On or about July 26, 2017, Person B and the defendant

exchanged text messages regarding PRC National A and his removal from the

United States to the PRC. Among the messages, the defendant wrote, “Really need

confirm it was officially transmitted. At this point – he says no[.]” Person B
                                       30
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responded, “Asked 3 different people to follow up[.]”      Person B later added,

“Called [Person E]. Seeing [Person H] in an hour.”

            88.    On or about July 27, 2017, Person B and the defendant

exchanged text messages regarding PRC National A. The defendant texted Person

B, “Any word on embassy??” The defendant later added, “Hey any update about

formal notice?” Person B responded, “I’m dealing with people in NSC. Emailing

directly. Awaiting response[.]”

            89.    On or about August 19, 2017, Person B texted the defendant

several times. Among those messages, Person B wrote, “Urgent. Call me. Good

news[.]”   Person B later added, “im with [Person H].           have break thru

opportunity[.]”

            90.    On or about September 13, 2017, Person B texted the defendant,

“Please text me asylum article. And other article[.]” That same day, the defendant

texted Person B links to articles about PRC National A.

            91.    On or about October 2, 2017, Person B texted the defendant a

link to article about PRC National A.

            92.    On or about January 5, 2018, Person B texted the defendant,

“Send me more info on [PRC National A] involved in funding Dem politicians, . . .

ASAP[.]”


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      9.     Pursuant to CrimLR 32.1(a) of the Local Rules of the United States

District Court for the District of Hawaii, the parties agree that the charge to which

the defendant is pleading guilty adequately reflects the seriousness of the actual

offense behavior and that accepting this Agreement will not undermine the statutory

purposes of sentencing.

                          SENTENCING STIPULATIONS

      10.    With respect to FARA, the defendant and the Government agree that

the Sentencing Guidelines do not contain a guideline for a FARA violation, but call

for the use of the most analogous guideline. U.S.S.G. §§ 2B1.2(a) and 2X5.1.

Under the facts of this case, the parties agree that there is no sufficiently analogous

guideline. Thus, the factors set forth in 18 U.S.C. §3553(a) shall control for this

offense, except that any guidelines and policy statement that can be applied

meaningfully shall remain applicable. U.S.S.G. § 2X5.1.

      11.    The parties agree that notwithstanding the parties’ Agreement herein,

the Court is not bound by any stipulation entered into by the parties but may, with

the aid of the presentence report, determine the facts relevant to sentencing. The

parties understand that the Court’s rejection of any stipulation between the parties

does not constitute a refusal to accept this Agreement since the Court is expressly

not bound by stipulations between the parties, including the parties’ agreement that

the Guidelines do not apply to the offense of conviction.
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      12.    The parties represent that as of the date of this Agreement there are no

material facts in dispute.

                       APPEAL/COLLATERAL REVIEW

      13.    The defendant is aware that she has the right to appeal her conviction

and the sentence imposed. The defendant knowingly and voluntarily waives the

right to appeal, except as indicated in subparagraph “b” below, her conviction and

any sentence within the statutory maximum as determined by the Court at the time

of sentencing, and any lawful restitution order imposed, or the manner in which the

sentence or restitution order was determined, on any ground whatsoever, in

exchange for the concessions made by the prosecution in this Agreement. The

defendant understands that this waiver includes the right to assert any and all legally

waivable claims.

             a.     The defendant also waives the right to challenge her conviction

or sentence or the manner in which it was determined in any collateral attack,

including, but not limited to, a motion brought under Title 28, United States Code,

Section 2255, except that the defendant may make such a challenge (1) as indicated

in subparagraph “b” below, or (2) based on a claim of ineffective assistance of

counsel.

             b.     If the Court determines an applicable guideline range despite the

parties’ agreement that the Guidelines do not apply to this offense, the defendant and
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the government retain the right to appeal the sentence and the manner in which it

was determined and the defendant retains the right to challenge her sentence in a

collateral attack.

              c.     The prosecution retains its right to appeal the sentence and the

manner in which it was determined on any of the grounds stated in Title 18, United

States Code, Section 3742(b).

                            FINANCIAL DISCLOSURE

       14.    In connection with the collection of restitution or other financial

obligations that may be imposed upon her, the defendant agrees as follows:

              a.     The defendant agrees to fully disclose all assets in which she has

any interest or over which she exercises control, directly or indirectly, including any

assets held by a spouse, nominee, or third party. The defendant understands that

the United States Probation Office (USPO) will conduct a presentence investigation

that will require the defendant to complete a comprehensive financial statement. To

avoid the requirement of the defendant completing financial statements for both the

USPO and the government, the defendant agrees to truthfully complete a financial

statement provided to the defendant by the United States Attorney’s Office. The

defendant agrees to complete the disclosure statement and provide it to the USPO

within the time frame required by the United States Probation officer assigned to the

defendant’s case. The defendant understands that the USPO will in turn provide a
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copy of the completed financial statement to the United States Attorney’s Office.

The defendant agrees to provide written updates to both the USPO and the United

States Attorney’s Office regarding any material changes in circumstances, which

occur prior to sentencing, within seven days of the event giving rise to the changed

circumstances. The defendant’s failure to timely and accurately complete and sign

the financial statement, and any written update thereto, may, in addition to any other

penalty or remedy, constitute the defendant’s failure to accept responsibility under

U.S.S.G § 3E1.1.

             b.     The defendant expressly authorizes the United States Attorney’s

Office to obtain her credit report.      The defendant agrees to provide waivers,

consents, or releases requested by the United States Attorney’s Office to access

records to verify the financial information, such releases to be valid for a period

extending 90 days after the date of sentencing. The defendant also authorizes the

United States Attorney’s Office to inspect and copy all financial documents and

information held by the USPO.

             c.     Prior to sentencing, the defendant agrees to notify the Financial

Litigation Unit of the United States Attorney’s Office before making any transfer of

an interest in property to a third party with a value exceeding $1,000 owned directly

or indirectly, individually or jointly, by the defendant, including any interest held or

owned under any name, including trusts, partnerships, and corporations.
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                                   FORFEITURE

      15.    The defendant agrees to a forfeiture money judgment in the amount of

$3 million, reflecting the minimum net proceeds from the offense set forth above,

pursuant to a payment schedule to be set no later than the date of sentencing.

      16.    The defendant agrees that the proffer of evidence supporting her guilty

plea is sufficient evidence to support this forfeiture. The defendant agrees that the

Court may enter a Preliminary Consent Order of Forfeiture for this property at the

time of her guilty plea or at any time before sentencing. The defendant agrees that

this Order will become final as to her when it is issued and will be a part of her

sentence pursuant to Federal Rule of Criminal Procedure 32.2(b)(4)(A).

      17.    To satisfy the forfeiture, if the defendant does not meet the payment

schedule to be set no later than sentencing, the defendant agrees that this Agreement

permits the government to seek to forfeit any of her assets, real or personal, that are

subject to forfeiture under any federal statute, whether or not this Agreement

specifically identifies the asset. Regarding any asset or property, the defendant

agrees to forfeiture of all interest in: (1) any property, real or personal, which

constitutes or is derived from proceeds traceable to the violations in Count 1, to

which the defendant is pleading guilty; (2) any substitute assets for property

otherwise subject to forfeiture.      See Title 18, United States Code, Section

981(a)(1)(C), Title 28, United States Code, Section 2461(c), and Title 21, United
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States Code, Section 853(p).

      18.    If the defendant does not make payments pursuant to the parties’ agreed

payment schedule, the defendant agrees that the government may choose in its sole

discretion how it wishes to accomplish forfeiture of the property whose forfeiture

she has consented to in this Agreement, whether by criminal or civil forfeiture, using

judicial or non-judicial forfeiture processes. If the government chooses to effect the

forfeiture provisions of this Agreement through the criminal forfeiture process after

the period set by the payment schedule referenced above has expired, the defendant

agrees to the entry of orders of forfeiture for such property and waives the

requirements of Federal Rule of Criminal Procedure 32.2 regarding notice of the

forfeiture in the charging instrument, announcement of the forfeiture at sentencing,

and incorporation of the forfeiture in the judgment. The defendant understands that

the forfeiture of assets is part of the sentence that may be imposed in this case, and

she waives any failure by the Court to advise her of this, pursuant to Federal Rule of

Criminal Procedure 11(b)(1)(J), at the time of her guilty plea.

      19.    The defendant agrees to take all necessary actions to identify all assets

over which she exercises or exercised control, directly or indirectly, at any time since

January 2017, or in which she has or had during that time any financial interest.

The defendant agrees to take all steps as requested by the government to obtain from

any other parties by any lawful means any records of assets owned at any time by
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the defendant. The defendant agrees to provide and/or consent to the release of her

tax returns from January 2017. The defendant agrees to take all steps as requested

by the government to pass clear title to forfeitable interests or to property to the

United States and to testify truthfully in any judicial forfeiture proceeding if she fails

to make the payments according to the parties’ agreed payment schedule.

      20.    The defendant agrees to waive all constitutional and statutory

challenges in any manner (including, but not limited to, direct appeal) to any

forfeiture carried out in accordance with this Agreement on any grounds, including

that the forfeiture constitutes an excessive fine or punishment.

                          IMPOSITION OF SENTENCE

      21.    While the parties agree that the Sentencing Guidelines do not apply to

the offense of conviction, the defendant understands that the District Court in

imposing sentence will consider the provisions of the Sentencing Guidelines. The

defendant agrees that there is no promise or guarantee of the applicability or non-

applicability of any Guideline or any portion thereof, notwithstanding any

representations or predictions from any source.

      22.    The defendant understands that this Agreement will not be accepted or

rejected by the Court until there has been an opportunity by the Court to consider a

presentence report, unless the Court decides that a presentence report is unnecessary.

The defendant understands that the Court will not accept an agreement unless the
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Court determines that the remaining charge adequately reflects the seriousness of

the actual offense behavior and accepting the Agreement will not undermine the

statutory purposes of sentencing.

                          WAIVER OF TRIAL RIGHTS

      23.    The defendant understands that by pleading guilty she surrenders

certain rights, including the following:

             a.     If the defendant persisted in a plea of not guilty to the charges

against her, then she would have the right to a public and speedy trial. The trial

could be either a jury trial or a trial by a judge sitting without a jury. The defendant

has a right to a jury trial. However, in order that the trial be conducted by the judge

sitting without a jury, the defendant, the prosecution, and the judge all must agree

that the trial be conducted by the judge without a jury.

             b.     If the trial is a jury trial, the jury would be composed of twelve

laypersons selected at random. The defendant and her attorney would have a say in

who the jurors would be by removing prospective jurors for cause where actual bias

or other disqualification is shown, or without cause by exercising peremptory

challenges. The jury would have to agree unanimously before it could return a

verdict of either guilty or not guilty. The jury would be instructed that the defendant

is presumed innocent, and that it could not convict her unless, after hearing all the

evidence, it was persuaded of her guilt beyond a reasonable doubt.
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             c.     If the trial is held by a judge without a jury, the judge would find

the facts and determine, after hearing all the evidence, whether or not he or she was

persuaded of the defendant’s guilt beyond a reasonable doubt.

             d.     At a trial, whether by a jury or a judge, the prosecution would be

required to present its witnesses and other evidence against the defendant. The

defendant would be able to confront those prosecution witnesses and her attorney

would be able to cross-examine them.          In turn, the defendant could present

witnesses and other evidence on her own behalf. If the witnesses for the defendant

would not appear voluntarily, the defendant could require their attendance through

the subpoena power of the Court.

             e.     At a trial, the defendant would have a privilege against

self-incrimination so that she could decline to testify, and no inference of guilt could

be drawn from her refusal to testify.

      24.    The defendant understands that by pleading guilty, she is waiving all of

the rights set forth in the preceding paragraph.       The defendant’s attorney has

explained those rights to her, and the consequences of the waiver of those rights.

                          USE OF PLEA STATEMENTS

      25.    If, after signing this Agreement, the defendant decides not to plead

guilty as provided herein, or if the defendant pleads guilty but subsequently makes

a motion before the Court to withdraw her guilty plea and the Court grants that
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motion, the defendant agrees that any admission of guilt that she makes by signing

this Agreement or that she makes while pleading guilty as set forth in this Agreement

may be used against her in a subsequent trial if the defendant later proceeds to trial.

The defendant voluntarily, knowingly, and intelligently waives any protection

afforded by Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of

the Federal Rules of Evidence regarding the use of statements made in this

Agreement or during the course of pleading guilty if the guilty plea is later

withdrawn. The only exception to this paragraph is where the defendant fully

complies with this Agreement but the Court nonetheless rejects it. Under those

circumstances, the United States may not use those statements of the defendant for

any purpose.

      26.      The defendant understands that the prosecution will apprise the Court

and the USPO of the nature, scope, and extent of the defendant’s conduct regarding

the charges against her, related matters, and any matters in aggravation or mitigation

relevant to the issues involved in sentencing.

                                  COOPERATION

      27.      The defendant agrees that she will fully cooperate with the United

States.

               a.    The defendant agrees to testify truthfully at any and all trials,

hearings, or any other proceedings at which the prosecution requests her to testify,
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including, but not limited to, any grand jury proceedings, trial proceedings involving

co-defendants and others charged later in the investigation, sentencing hearings, and

related civil proceedings.

             b.     The defendant agrees to be available to speak with law

enforcement officials and representatives of the United States Attorney’s Office at

any time and to give truthful and complete answers at such meetings, but she

understands she may have her counsel present at those conversations, if she so

desires.

             c.     The defendant agrees she will not assert any privilege to refuse

to testify at any grand jury, trial, or other proceeding, involving or related to the

crimes charged in this Information or any subsequent charges related to this

investigation, at which the prosecution requests her to testify, other than the attorney-

client privilege as it applies to privileged communications with undersigned counsel

or counsel with whom they work in this matter.

             d.     The defendant agrees that her sentencing date may be delayed

based on the government’s need for the defendant’s continued cooperation, and

agrees not to object to any continuances of the defendant’s sentencing date sought

by the United States.

             e.     In the event that the defendant does not breach any of the terms

of this Agreement but the Court nonetheless refuses to accept the Agreement after
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the defendant has made statements to law enforcement authorities or representatives

of the United States Attorney’s Office pursuant to this Agreement, the prosecution

agrees not to use said statements in its case-in-chief in the trial of the defendant in

this matter. The defendant understands that this does not bar the use of information

and evidence derived from said statements or prohibit the use of the statements by

the prosecution in cross-examination or rebuttal.

      28.    Pursuant to Guidelines § 5Kl.1 and Rule 35(b) of the Federal Rules of

Criminal Procedure, the prosecution may move the Court to depart from any

applicable Guidelines range determined by the Court and to seek consideration by

the Court of the cooperation if Guidelines are not considered on the ground that the

defendant has provided substantial assistance to authorities in the investigation or

prosecution of another person who has committed an offense.            The defendant

understands that:

             a.     The decision as to whether to make such a request or motion is

entirely up to the prosecution but such motion will not be withheld in bad faith.

             b.     This Agreement does not require the prosecution to make such a

request or motion but such motion will not be withheld in bad faith.

             c.     This Agreement confers neither any right upon the defendant to

have the prosecution make such a request or motion, nor any remedy to the defendant


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in the event the prosecution fails to make such a request or motion unless such

motion is withheld in bad faith.

                d.    Even in the event that the prosecution makes such a request or

motion, the Court may refuse to depart from the Guidelines or to impose a sentence

below the minimum level established by statute.

      29.       The defendant and her attorney acknowledge that, apart from any

written proffer agreements, if applicable, no threats, promises, agreements, or

conditions have been entered into by the parties other than those set forth in this

Agreement, to induce the defendant to plead guilty. Apart from any written proffer

agreements, if applicable, this Agreement supersedes all prior promises, agreements,

or conditions between the parties.

      30.       To become effective, this Agreement must be signed by all signatories

listed below.

      31.       Should the Court refuse to accept this Agreement, it is null and void

and neither party shall be bound thereto.



                                        August 28, 2020
      DATED: Honolulu, Hawaii,                                       .




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